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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



 IN RE CATTLE ANTITRUST                     Case No. 0:19-cv-1222-JRT-HB
 LITIGATION

 This document relates to:

 ALL CASES


 PETERSON, et al.,                          Case No. 0:19-cv-01129-JRT-HB
                             Plaintiffs,
        v.

 JBS S.A., et al.,
                             Defendants.


 IN RE DPP BEEF LITIGATION                  Case No. 0:20-cv-1319-JRT-HB

 This document relates to:

 ALL CASES


 ERBERT & GERBERT’S, INC.,                  Case No. 0:20-cv-01414-JRT-HB
                     Plaintiff,
     v.

 CARGILL, INC., et al.,
                             Defendants.


                     MOTION FOR WITHDRAWAL OF APPEARANCE

TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

       PLEASE TAKE NOTICE that Plaintiffs Ranchers Cattlemen Action Legal Fund United

Stockgrowers of America, Weinreis Brothers Partnership, Minatare Feedlot, Inc., Charles
          CASE 0:19-cv-01222-JRT-HB Doc. 393 Filed 05/27/21 Page 2 of 2




Weinreis, Eric Nelson, James Jensen d/b/a Lucky 7 Angus and Richard Chambers as trustee of the

Richard C. Chambers Living Trust hereby respectfully move this Court for an Order permitting

the withdrawal of the appearance of Christopher P.T. Tourek in the above-captioned action. As of

May 28, 2021, the undersigned will no longer be associated with the law firm of Cafferty Clobes

Meriwether & Sprengel LLP. Attorneys at Cafferty Clobes Meriwether & Sprengel LLP continue

to be counsel of record for Plaintiffs. This withdrawal will not affect any deadlines or cause any

delay in this matter.

       Accordingly, Christopher P.T. Tourek requests that his withdrawal as counsel be granted

and he be removed from this action’s electronic case filing (ECF) service list.



Dated: May 27, 2021                          Respectfully submitted,


                                             s/     Christopher P.T. Tourek
                                             Christopher P.T.Tourek
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                                             SPRENGEL LLP
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